     Case 2:24-cv-02377-PA-MAA Document 1 Filed 03/22/24 Page 1 of 11 Page ID #:1



     SO. CAL. EQUAL ACCESS GROUP
 1   Jason J. Kim (SBN 190246)
     Jason Yoon (SBN 306137)
 2   Kevin Hong (SBN 299040)
     101 S. Western Ave., Second Floor
 3   Los Angeles, CA 90004
     Telephone: (213) 252-8008
 4   Facsimile: (213) 252-8009
     cm@SoCalEAG.com
 5
     Attorneys for Plaintiff
 6   JARDINE GOUGIS
 7
 8                              UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
     JARDINE GOUGIS,                           Case No.:
11
                  Plaintiff,                   COMPLAINT FOR INJUNCTIVE
12                                             RELIEF AND DAMAGES FOR DENIAL
           vs.                                 OF CIVIL RIGHTS OF A DISABLED
13                                             PERSON IN VIOLATIONS OF
14                                             1. AMERICANS WITH DISABILITIES
                                               ACT, 42 U.S.C. §12131 et seq.;
15   LAYERS HAIR STUDIOS, LLC; GARY
     A. ZENTMYER; and DOES 1 to 10,            2. CALIFORNIA’S UNRUH CIVIL
16                                             RIGHTS ACT;
                  Defendants.
17                                             3. CALIFORNIA’S DISABLED
                                               PERSONS ACT;
18
                                               4. CALIFORNIA HEALTH & SAFETY
19                                             CODE;
20                                             5. NEGLIGENCE
21
22
23         Plaintiff JARDINE GOUGIS (“Plaintiff”) complains of Defendants LAYERS
24   HAIR STUDIOS, LLC; GARY A. ZENTMYER; and DOES 1 to 10 (“Defendants”) and
25   alleges as follows:
26   //
27   //
28   //


                                        COMPLAINT - 1
     Case 2:24-cv-02377-PA-MAA Document 1 Filed 03/22/24 Page 2 of 11 Page ID #:2




 1                                              PARTIES
 2            1.   Plaintiff is a California resident with a physical disability. Plaintiff is
 3   diagnosed with osteoarthritis on both hips and is substantially limited in her ability to
 4   walk. Plaintiff requires the use of a wheelchair at all times when traveling in public.
 5            2.   Defendants are, or were at the time of the incident, the real property owners,
 6   business operators, lessors and/or lessees of the real property for a hair stylist
 7   (“Business”) located at or about 1432 Foothill Blvd, La Canada Flintridge, California.
 8            3.   The true names and capacities, whether individual, corporate, associate or
 9   otherwise of Defendant DOES 1 through 10, and each of them, are unknown to Plaintiff,
10   who therefore sues said Defendants by such fictitious names. Plaintiff will ask leave of
11   Court to amend this Complaint when the true names and capacities have been
12   ascertained. Plaintiff is informed and believes, and, based thereon, alleges that each such
13   fictitiously named Defendants are responsible in some manner, and therefore, liable to
14   Plaintiff for the acts herein alleged.
15            4.   Plaintiff is informed and believes, and thereon alleges that, at all relevant
16   times, each of the Defendants was the agent, employee, or alter-ego of each of the other
17   Defendants, and/or was acting in concert with each of the other Defendants, and in doing
18   the things alleged herein was acting with the knowledge and consent of the other
19   Defendants and within the course and scope of such agency or employment relationship.
20            5.   Whenever and wherever reference is made in this Complaint to any act or
21   failure to act by a defendant or Defendants, such allegations and references shall also be
22   deemed to mean the acts and failures to act of each Defendant acting individually, jointly
23   and severally.
24                                 JURISDICTION AND VENUE
25            6.   The Court has jurisdiction of this action pursuant to 28 USC §§ 1331 and
26   1343 for violation of the Americans with Disabilities Act of 1990, (42 USC §12101, et
27   seq.).
28




                                              COMPLAINT - 2
     Case 2:24-cv-02377-PA-MAA Document 1 Filed 03/22/24 Page 3 of 11 Page ID #:3




 1         7.     Pursuant to pendant jurisdiction, attendant and related causes of action,
 2   arising from the same nucleus of operating facts, are also brought under California law,
 3   including, but not limited to, violations of California Civil Code §§51, 51.5, 52(a), 52.1,
 4   54, 54., 54.3 and 55.
 5         8.     Plaintiff’s claims are authorized by 28 USC §§ 2201 and 2202.
 6         9.     Venue is proper in this court pursuant to 28 USC §1391(b). The real
 7   property which is the subject of this action is located in this district, Los Angeles County,
 8   California, and that all actions complained of herein take place in this district.
 9                                     FACTUAL ALLEGATIONS
10         10.    In or about December of 2023, Plaintiff went to the Business.
11         11.    The Business is a hair stylist business establishment, open to the public, and
12   is a place of public accommodation that affects commerce through its operation.
13   Defendants provide parking spaces for customers.
14         12.    While attempting to enter the Business during each visit, Plaintiff personally
15   encountered a number of barriers that interfered with her ability to use and enjoy the
16   goods, services, privileges, and accommodations offered at the Business.
17         13.    To the extent of Plaintiff’s personal knowledge, the barriers at the Business
18   included, but were not limited to, the following:
19                a.     Defendants failed to comply with the federal and state standards for
20                       the parking space designated for persons with disabilities. Defendants
21                       failed to provide adequate numbers of accessible parking spaces in its
22                       facility as there was only one accessible parking space while there
23                       were more than 25 regular parking spaces for the parking lot.
24         14.    These barriers and conditions denied Plaintiff the full and equal access to the
25   Business and caused Plaintiff difficulty and frustration. Plaintiff wishes to return and
26   patronize the Business; however, Plaintiff is deterred from visiting the Business because
27   her knowledge of these violations prevents her from returning until the barriers are
28   removed.



                                            COMPLAINT - 3
     Case 2:24-cv-02377-PA-MAA Document 1 Filed 03/22/24 Page 4 of 11 Page ID #:4




 1         15.    Based on the violations, Plaintiff alleges, on information and belief, that
 2   there are additional barriers to accessibility at the Business after further site inspection.
 3   Plaintiff seeks to have all barriers related to her disability remedied. See Doran v. 7-
 4   Eleven, Inc. 524 F.3d 1034 (9th Cir. 2008).
 5         16.    In addition, Plaintiff alleges, on information and belief, that Defendants
 6   knew that particular barriers render the Business inaccessible, violate state and federal
 7   law, and interfere with access for the physically disabled.
 8         17.    At all relevant times, Defendants had and still have control and dominion
 9   over the conditions at this location and had and still have the financial resources to
10   remove these barriers without much difficulty or expenses to make the Business
11   accessible to the physically disabled in compliance with ADDAG and Title 24
12   regulations. Defendants have not removed such barriers and have not modified the
13   Business to conform to accessibility regulations.
14                                     FIRST CAUSE OF ACTION
15          VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
16         18.    Plaintiff incorporates by reference each of the allegations in all prior
17   paragraphs in this complaint.
18         19.    Under the Americans with Disabilities Act of 1990 (“ADA”), no individual
19   shall be discriminated against on the basis of disability in the full and equal enjoyment of
20   the goods, services, facilities, privileges, advantages, or accommodations of any place of
21   public accommodation by any person who owns, leases, or leases to, or operates a place
22   of public accommodation. See 42 U.S.C. § 12182(a).
23         20.    Discrimination, inter alia, includes:
24                a.     A failure to make reasonable modification in policies, practices, or
25                       procedures, when such modifications are necessary to afford such
26                       goods, services, facilities, privileges, advantages, or accommodations
27                       to individuals with disabilities, unless the entity can demonstrate that
28                       making such modifications would fundamentally alter the nature of



                                            COMPLAINT - 4
     Case 2:24-cv-02377-PA-MAA Document 1 Filed 03/22/24 Page 5 of 11 Page ID #:5




 1                    such goods, services, facilities, privileges, advantages, or
 2                    accommodations. 42 U.S.C. § 12182(b)(2)(A)(ii).
 3              b.    A failure to take such steps as may be necessary to ensure that no
 4                    individual with a disability is excluded, denied services, segregated or
 5                    otherwise treated differently than other individuals because of the
 6                    absence of auxiliary aids and services, unless the entity can
 7                    demonstrate that taking such steps would fundamentally alter the
 8                    nature of the good, service, facility, privilege, advantage, or
 9                    accommodation being offered or would result in an undue burden. 42
10                    U.S.C. § 12182(b)(2)(A)(iii).
11              c.    A failure to remove architectural barriers, and communication barriers
12                    that are structural in nature, in existing facilities, and transportation
13                    barriers in existing vehicles and rail passenger cars used by an
14                    establishment for transporting individuals (not including barriers that
15                    can only be removed through the retrofitting of vehicles or rail
16                    passenger cars by the installation of a hydraulic or other lift), where
17                    such removal is readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv).
18              d.    A failure to make alterations in such a manner that, to the maximum
19                    extent feasible, the altered portions of the facility are readily
20                    accessible to and usable by individuals with disabilities, including
21                    individuals who use wheelchairs or to ensure that, to the maximum
22                    extent feasible, the path of travel to the altered area and the
23                    bathrooms, telephones, and drinking fountains serving the altered
24                    area, are readily accessible to and usable by individuals with
25                    disabilities where such alterations to the path or travel or the
26                    bathrooms, telephones, and drinking fountains serving the altered area
27                    are not disproportionate to the overall alterations in terms of cost and
28                    scope. 42 U.S.C. § 12183(a)(2).



                                         COMPLAINT - 5
     Case 2:24-cv-02377-PA-MAA Document 1 Filed 03/22/24 Page 6 of 11 Page ID #:6




 1         21.    Where parking spaces are provided, accessible parking spaces shall be
 2   provided. 1991 ADA Standards § 4.1.2(5); 2010 ADA Standards § 208. One in every
 3   eight accessible spaces, but not less than one, shall be served by an access aisle 96 in
 4   (2440 mm) wide minimum and shall be designated “van accessible.” 1991 ADA
 5   Standards § 4.1.2(5)(b). For every six or fraction of six parking spaces, at least one shall
 6   be a van accessible parking space. 2010 ADA Standards § 208.2.4.
 7         22.    Under the ADA, the method and color of marking are to be addressed by
 8   State or local laws or regulations. See 36 C.F.R., Part 1191. Under the California
 9   Building Code (“CBC”), the parking space identification signs shall include the
10   International Symbol of Accessibility. Parking identification signs shall be reflectorized
11   with a minimum area of 70 square inches. Additional language or an additional sign
12   below the International Symbol of Accessibility shall state “Minimum Fine $250.” A
13   parking space identification sign shall be permanently posted immediately adjacent and
14   visible from each parking space, shall be located with its centerline a maximum of 12
15   inches from the centerline of the parking space and may be posted on a wall at the
16   interior end of the parking space. See CBC § 11B-502.6, et seq.
17         23.    Parking spaces complying with 502 shall be provided in accordance with
18   Table 208.2 except as required by 208.2.1, 208.2.2, and 208.2.2.3. 2010 ADA Standards
19   § 208.2. Where more than one parking facility is provided on a site, the number of
20   accessible spaces provided on the site shall be calculated according to the number of
21   spaces required for each parking facility. Id.
22         24.    Here, Defendants failed to provide adequate numbers of accessible parking
23   spaces in its facility as there was only one accessible parking space while there were
24   more than 25 regular parking spaces for the parking lot.
25         25.    A public accommodation shall maintain in operable working condition those
26   features of facilities and equipment that are required to be readily accessible to and usable
27   by persons with disabilities by the Act or this part. 28 C.F.R. 35.211(a).
28




                                           COMPLAINT - 6
     Case 2:24-cv-02377-PA-MAA Document 1 Filed 03/22/24 Page 7 of 11 Page ID #:7




 1         26.      By failing to maintain the facility to be readily accessible and usable by
 2   Plaintiff, Defendants are in violation of Plaintiff’s rights under the ADA and its related
 3   regulations.
 4         27.      The Business has denied and continues to deny full and equal access to
 5   Plaintiff and to other people with disabilities. Plaintiff has been and will continue to be
 6   discriminated against due to the lack of accessible facilities, and therefore, seeks
 7   injunctive relief to alter facilities to make such facilities readily accessible to and usable
 8   by individuals with disabilities.
 9                                 SECOND CAUSE OF ACTION
10                     VIOLATION OF THE UNRUH CIVIL RIGHTS ACT
11         28.      Plaintiff incorporates by reference each of the allegations in all prior
12   paragraphs in this complaint.
13         29.      California Civil Code § 51 states, “All persons within the jurisdiction of this
14   state are free and equal, and no matter what their sex, race, color, religion, ancestry,
15   national origin, disability, medical condition, genetic information, marital status, sexual
16   orientation, citizenship, primary language, or immigration status are entitled to the full
17   and equal accommodations, advantages, facilities, privileges, or services in all business
18   establishments of every kind whatsoever.”
19         30.      California Civil Code § 52 states, “Whoever denies, aids or incites a denial,
20   or make any discrimination or distinction contrary to Section 51, 515, or 51.6, is liable
21   for each and every offense for the actual damages, and any amount that may be
22   determined by a jury, or a court sitting without a jury, up to a maximum of three times the
23   amount of actual damage but in no case less than four thousand dollars ($4,000) and any
24   attorney’s fees that may be determined by the court in addition thereto, suffered by any
25   person denied the rights provided in Section 51, 51.5, or 51.6.
26         31.      California Civil Code § 51(f) specifies, “a violation of the right of any
27   individual under federal Americans with Disabilities Act of 1990 (Public Law 101-336)
28   shall also constitute a violation of this section.”



                                             COMPLAINT - 7
     Case 2:24-cv-02377-PA-MAA Document 1 Filed 03/22/24 Page 8 of 11 Page ID #:8




 1         32.    The actions and omissions of Defendants alleged herein constitute a denial
 2   of full and equal accommodation, advantages, facilities, privileges, or services by
 3   physically disabled persons within the meaning of California Civil Code §§ 51 and 52.
 4   Defendants have discriminated against Plaintiff in violation of California Civil Code §§
 5   51 and 52.
 6         33.    The violations of the Unruh Civil Rights Act caused Plaintiff to experience
 7   difficulty, discomfort, or embarrassment. The Defendants are also liable for statutory
 8   damages as specified in California Civil Code §55.56(a)-(c).
 9                                 THIRD CAUSE OF ACTION
10                VIOLATION OF CALIFORNIA DISABLED PERSONS ACT
11         34.    Plaintiff incorporates by reference each of the allegations in all prior
12   paragraphs in this complaint.
13         35.    California Civil Code § 54.1(a) states, “Individuals with disabilities shall be
14   entitled to full and equal access, as other members of the general public, to
15   accommodations, advantages, facilities, medical facilities, including hospitals, clinics,
16   and physicians’ offices, and privileges of all common carriers, airplanes, motor vehicles,
17   railroad trains, motorbuses, streetcars, boats, or any other public conveyances or modes
18   of transportation (whether private, public, franchised, licensed, contracted, or otherwise
19   provided), telephone facilities, adoption agencies, private schools, hotels, loading places,
20   places of public accommodations, amusement, or resort, and other places in which the
21   general public is invited, subject only to the conditions and limitations established by
22   law, or state or federal regulation, and applicable alike to all persons.
23         36.    California Civil Code § 54.3(a) states, “Any person or persons, firm or
24   corporation who denies or interferes with admittance to or enjoyment of public facilities
25   as specified in Sections 54 and 54.1 or otherwise interferes with the rights of an
26   individual with a disability under Sections 54, 54.1 and 54.2 is liable for each offense for
27   the actual damages, and any amount as may be determined by a jury, or a court sitting
28   without a jury, up to a maximum of three times the amount of actual damages but in no



                                            COMPLAINT - 8
     Case 2:24-cv-02377-PA-MAA Document 1 Filed 03/22/24 Page 9 of 11 Page ID #:9




 1   case less than one thousand dollars ($1,000) and any attorney’s fees that may be
 2   determined by the court in addition thereto, suffered by any person denied the rights
 3   provided in Section 54, 54.1, and 54.2.
 4         37.    California Civil Code § 54(d) specifies, “a violation of the right of an
 5   individual under Americans with Disabilities Act of 1990 (Public Law 101-336) also
 6   constitute a violation of this section, and nothing in this section shall be construed to limit
 7   the access of any person in violation of that act.
 8         38.    The actions and omissions of Defendants alleged herein constitute a denial
 9   of full and equal accommodation, advantages, and facilities by physically disabled
10   persons within the meaning of California Civil Code § 54. Defendants have
11   discriminated against Plaintiff in violation of California Civil Code § 54.
12         39.    The violations of the California Disabled Persons Act caused Plaintiff to
13   experience difficulty, discomfort, and embarrassment. The Defendants are also liable for
14   statutory damages as specified in California Civil Code §55.56(a)-(c).
15                                FOURTH CAUSE OF ACTION
16                CALIFORNIA HEALTH & SAFETY CODE § 19955, et seq.
17         40.    Plaintiff incorporates by reference each of the allegations in all prior
18   paragraphs in this complaint.
19         41.    Plaintiff and other similar physically disabled persons who require the use of
20   a wheelchair are unable to use public facilities on a “full and equal” basis unless each
21   such facility is in compliance with the provisions of California Health & Safety Code §
22   19955 et seq. Plaintiff is a member of the public whose rights are protected by the
23   provisions of California Health & Safety Code § 19955 et seq.
24         42.    The purpose of California Health & Safety Code § 1995 et seq. is to ensure
25   that public accommodations or facilities constructed in this state with private funds
26   adhere to the provisions of Chapter 7 (commencing with Section 4450) of Division 5 of
27   Title 1 of the Government Code. The code relating to such public accommodations also
28   require that “when sanitary facilities are made available for the public, clients, or



                                            COMPLAINT - 9
     Case 2:24-cv-02377-PA-MAA Document 1 Filed 03/22/24 Page 10 of 11 Page ID #:10




 1    employees in these stations, centers, or buildings, they shall be made available for
 2    persons with disabilities.
 3           43.    Title II of the ADA holds as a “general rule” that no individual shall be
 4    discriminated against on the basis of disability in the full and equal enjoyment of goods
 5    (or use), services, facilities, privileges, and accommodations offered by any person who
 6    owns, operates, or leases a place of public accommodation. 42 U.S.C. § 12182(a).
 7    Further, each and every violation of the ADA also constitutes a separate and distinct
 8    violation of California Civil Code §§ 54(c) and 54.1(d), thus independently justifying an
 9    award of damages and injunctive relief pursuant to California law, including but not
10    limited to Civil Code § 54.3 and Business and Professions Code § 17200, et seq.
11                                    FIFTH CAUSE OF ACTION
12                                          NEGLIGENCE
13           44.    Plaintiff incorporates by reference each of the allegations in all prior
14    paragraphs in this complaint.
15           45.    Defendants have a general duty and a duty under the ADA, Unruh Civil
16    Rights Act and California Disabled Persons Act to provide safe and accessible facilities
17    to the Plaintiff.
18           46.    Defendants breached their duty of care by violating the provisions of ADA,
19    Unruh Civil Rights Act and California Disabled Persons Act.
20           47.    As a direct and proximate result of Defendants’ negligent conduct, Plaintiff
21    has suffered damages.
22                                      PRAYER FOR RELIEF
23           WHEREFORE, Plaintiff respectfully prays for relief and judgment against
24    Defendants as follows:
25           1.     For preliminary and permanent injunction directing Defendants to comply
26    with the Americans with Disability Act and the Unruh Civil Rights Act;
27           2.     Award of all appropriate damages, including but not limited to statutory
28    damages, general damages and treble damages in amounts, according to proof;



                                             COMPLAINT - 10
     Case 2:24-cv-02377-PA-MAA Document 1 Filed 03/22/24 Page 11 of 11 Page ID #:11




 1          3.     Award of all reasonable restitution for Defendants’ unfair competition
 2    practices;
 3          4.     Reasonable attorney’s fees, litigation expenses, and costs of suit in this
 4    action;
 5          5.     Prejudgment interest pursuant to California Civil Code § 3291; and
 6          6.     Such other and further relief as the Court deems just and proper.
 7                               DEMAND FOR TRIAL BY JURY
 8          Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff hereby
 9    demands a trial by jury on all issues so triable.
10
11    Dated: March 22, 2024                   SO. CAL. EQUAL ACCESS GROUP
12
13
14                                            By:    _/s/ Jason J. Kim___________
                                                     Jason J. Kim, Esq.
15                                                   Attorneys for Plaintiff
16
17
18
19
20
21
22
23
24
25
26
27
28




                                            COMPLAINT - 11
